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                          UNITED STATES BANKRUPTCY COURT
                           EASTERN DISTRICT OF MICHIGAN
                                  DETROIT DIVISION

 In Re:                                          Case No. 17-57688-tjt

 Christopher John Standerwick
 Crystal Dawn Preston-Standerwick
                                                 Chapter 13
  aka Crystal Dawn Preston
  aka Crystal Dawn Standerwick

 Debtors.                                        Judge Thomas J. Tucker

                                      PROOF OF SERVICE

        The undersigned does hereby certify that a copy of the Notice of Postpetition Mortgage
Fees, Expenses, and Charges has been duly electronically serviced, noticed or mailed via U.S.
First Class Mail, postage prepaid on May 14, 2021 to the following:

          Christopher John Standerwick, Debtor
          Crystal Dawn Preston-Standerwick, Debtor
          3470 Yardly Ct.
          Sterling Heights, MI 48310

          James P. Frego, II, Debtors’ Counsel
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          Madihi Nasser, Debtor’s Counsel
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          Toni Valchanov, Debtors’ Counsel
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          mieb_ecfadmin@det13.net




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    United States Trustee’s Office
    (registeredaddress)@usdoj.gov

                                           Respectfully Submitted,

                                           /s/ Molly Slutsky Simons
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                                           Sottile & Barile, Attorneys at Law
                                           394 Wards Corner Road, Suite 180
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